




Dismissed and Memorandum Opinion filed November 8, 2007








Dismissed
and Memorandum Opinion filed November 8, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00543-CV

____________

&nbsp;

QUALITY INFUSION CARE, INC., Appellant

&nbsp;

V.

&nbsp;

BANDANA TRADING, INC., Appellee

&nbsp;



&nbsp;

On Appeal from the
152nd District Court

Harris County,
Texas

Trial Court Cause
No. 2007-17888

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed June 29, 2007.&nbsp; On October 31, 2007, appellant
filed a motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

Judgment rendered and Memorandum Opinion filed
November 8, 2007.

Panel consists of Chief Justice Hedges, Justices Yates and Frost.





